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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                          April 28, 2022
                                                                       Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        ROBYN BRANCH-          § CIVIL ACTION NO.
        COOPER,                § 4:22-cv-00078
                    Plaintiff, §
                               §
                               §
              vs.              § JUDGE CHARLES ESKRIDGE
                               §
                               §
        BSI FINANCIAL          §
        SERVICES INC,          §
                  Defendant. §

                                ORDER

            Pending is an unopposed motion for Jason A. LeBoeuf
       to withdraw as counsel of record for Plaintiff Robyn
       Branch-Cooper. Dkt 16.
            Counsel may not freely withdraw from representation,
       but instead must obtain leave of court. Matter of Wynn, 889
       F2d 644, 646 (5th Cir 1989). A court must determine that
       the prosecution of the lawsuit won’t be “disrupted by the
       withdrawal of counsel, and that the withdrawal of counsel
       is for good cause.” Broughten v Voss, 634 F2d 880, 882–83
       (5th Cir 1981). Counsel must also provide reasonable notice
       to the client. Matter of Wynn, 889 F2d at 646. Whether
       leave is granted rests within the sound discretion of the
       district court. Ibid.
            LeBoeuf asserts, “Plaintiff has not paid any of the
       earned fees, expenses of Counsel, or court costs advanced
       by Counsel at any point.” Dkt 16 at 1. This is insufficient
       reason for a plaintiff’s attorney to abandon a client and a
       cause after invoking the jurisdiction of a federal court.
       Plainly, such withdrawal would inevitably delay and
       disrupt forward progress, especially considering the
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       pending motion by Defendant BSI Financial Services Inc
       for summary judgment. Dkt 15.
            Simply put, LeBoeuf initiated this litigation as counsel
       to Branch-Cooper and will bear responsibility for its
       prosecution—or its termination—until replacement
       counsel is identified. Any problems with this client or this
       litigation won’t be so lightly shifted to this Court and
       opposing counsel.
            The motion for Jason A. LeBoeuf to withdraw as
       attorney for Plaintiff Robyn Branch-Cooper is DENIED.
       Dkt 16.
            Counsel for Branch-Cooper must respond to the
       pending motion for summary judgment or seek in good
       faith any other available relief.
            SO ORDERED.


           Signed on April 28, 2022, at Houston, Texas.



                                  __________________________
                                  Hon. Charles Eskridge
                                  United States District Judge




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